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                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

 ROBERT MERCED, INDIVIDUALLY AND
 ON BEHALF OF THE ESTATE OF ELVIA
 RIVERA,                                                Case No 8:20-cv-00587-WFJ-SPF

                        Plaintiffs,

 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

                        Defendant.

                     MOTION FOR ADMISSION PRO HAC VICE
                AND WRITTEN DESIGNATION AND CONSENT TO ACT

       Pursuant to Rule 2.02 of the Local Rules for the United States District Court of the Middle

District of Florida, Plaintiffs ROBERT MERCED, Individually and on behalf of the ESTATE OF

ELVIA RIVERA, by and through their undersigned counsel, move this Court for an order allowing

Raymond C. Silverman, Esq. to appear in this Court as counsel on behalf of Plaintiffs in the above-

styled lawsuit. In support of this motion, Plaintiffs state the following:

       1.      Mr. Silverman and the law firm of Parker Waichman LLP have been retained to

               represent the Plaintiffs as counsel in all proceedings conducted in this cause.

       2.      Mr. Silverman is not admitted to practice in the United States District Court for the

               Middle District of Florida.

       3.      Mr. Silverman is admitted to practice and is a member in good standing of the New

               York State Bar (2000) and Southern District of New York (2005); Eastern District

               of New York (2005); Northern District of New York (2005); and Western District

               of New York (2007).

       4.      Mr. Silverman is familiar with, and will be governed by, the Local Rules of the




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               United States District Court for the Middle District of Florida, including Rules

               2.01(d), 2.02 and Rule 2.04 thereof. Mr. Silverman is familiar with, and will be

               governed by, the Code of Professional Responsibility and the other ethical

               limitations or requirements governing the professional behavior of members of the

               Florida Bar.

       5.      Mr. Silverman designates Francisco A. Albites, Esq., also of the law firm of Parker

               Waichman LLP, 27299 Riverview Center Boulevard, Suite 108, Bonita Springs,

               Florida 34134, falbites@yourlawyer.com as the lawyer upon whom all notices and

               papers may be served and who will be responsible for the progress of the case,

               including the trial in default of the non-resident attorneys. Francisco A. Albites,

               Esq. is a member in good standing of the Florida Bar and the United States District

               Court for the Middle District of Florida, and Parker Waichman LLP maintains an

               office in this state for the practice of law.

       6.      Through his signature below, Francisco A. Albites, Esq. of Parker Waichman LLP

               hereby consents to such designation and the terms of this Motion.

       7.      Pursuant to Rule 2.02(a), Local Rules, United States District Court, Middle District

               of Florida, Francisco A. Albites certifies that Raymond C. Silverman has complied

               with the fee requirements of Rule 2.01(d) and will complete e-filing registration in

               accordance with Rule 2.01(d) of the Local Rules of the United States District Court

               for the Middle District of Florida.

       WHEREFORE, Plaintiffs, ROBERT MERCED, Individually and on behalf of the

ESTATE OF ELVIA RIVERA, respectfully request this Court enter an Order admitting Raymond

C. Silverman, Esq. to practice before this Court pro hac vice for all purposes relating to this matter.




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Dated: June 3, 2020                                       Respectfully Submitted,


                                                          s/ Francisco A. Albites       __
                                                          Francisco A. Albites, #78046
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                                                          Suite 108
                                                          Bonita Springs, Florida 34134
                                                          Telephone: (239) 390-8612
                                                          Facsimile: (239) 390-0055
                                                          falbites@yourlawyer.com
                                                          Counsel for Plaintiffs

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of June, 2020, I electronically filed the

foregoing document with the Clerk of the Court by using the CM/ECF system, causing all

counsel of record be served by electric means.



                                                          s/ Francisco A. Albites        __
                                                          Francisco A. Albites




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